Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 1 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 2 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 3 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 4 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 5 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 6 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 7 of 8
Case 17-14781-mdc   Doc 24   Filed 01/22/18 Entered 01/22/18 09:08:18   Desc Main
                             Document     Page 8 of 8
